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                           UNITED STATES DISTRICT COURT
                           EASTERN DISTRICT OF MICHIGAN
                                SOUTHERN DIVISION

 ELLIOTT ABRAMS, et al.,

                  Plaintiffs,
                                                   Case No. 20-11053
 v.
                                                   HON. MARK A. GOLDSMITH
 WILLIS CHAPMAN, et al.,

           Defendants.
 ______________________________/

                   STIPULATED ORDER
     WITHDRAWING PLAINTIFFS’ MOTION FOR TEMPORARY
 RESTRAINING ORDER AND/OR PRELIMINARY INJUNCTION (Dkt. 22)
     AND MOTION TO CERTIFY CLASS (Dkt. 7), AND STAYING
                      PROCEEDINGS

         Having reviewed the Sixth Circuit’s June 9, 2020 decision in Wilson, et al. v.

 Williams, et al., Case No. 20-3447, the parties to the above-captioned matter,

 through counsel, hereby stipulate and agree to the following:

      (1) Plaintiffs’ pending motion for temporary restraining and/or preliminary

         injunction (Dkt. 22) and motion to certify class (Dkt. 7) are hereby withdrawn;

      (2) This case shall be stayed pending the outcome of any appeal in the Wilson, et

         al. v. Williams, et al. case, unless the stay is earlier modified or vacated by

         this Court for good cause after notice to the parties and an opportunity to be

         heard;
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    (3) If the Wilson, et al. v. Williams, et al. case is either not appealed or it is not

       reversed and/or modified on appeal, Plaintiffs will dismiss this case, subject

       to approval by the named Plaintiffs, which Plaintiffs’ counsel will seek within

       seven days of the date of this Order.

       SO ORDERED.

 Dated: June 11, 2020                           s/Mark A. Goldsmith
       Detroit, Michigan                        MARK A. GOLDSMITH
                                                United States District Judge
 Stipulated and agreed:

 Dated: 6/10/20                                 /s/ Daniel Manville
                                                Daniel Manville (P39731)
                                                Attorney for Plaintiffs
                                                daniel.manville@law.msu.edu

 Dated: 6/10/20                                 /s/ Kevin J. O’Dowd
                                                Kevin J. O’Dowd (P39383)
                                                Attorney for MDOC Defendants
                                                odowdk@michigan.gov




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